[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM ON MOTION TO STRIKE
The third party defendant, Providence and Worcester Railroad, has moved to strike the third party complaint brought by the defendant, the third party plaintiff, Simon Ford, Inc.
The third party defendant argues that the third party plaintiff's claim is barred by the statute of limitations, in this case, Connecticut General Statutes Section 52-577a(b). Since the complaint contains all the necessary facts and dates, this defense may be raised through a Motion to Strike. The original complaint was brought against Simon Ford, Inc. on April 7, 1989, with a return date of May 2, 1989, pursuant to Connecticut General Statutes Section 52-572m.
Connecticut General Statutes Section 52-577a(b) states that any third party defendant must be served within one year from the date the original complaint was returned to court. This third party action was brought by a complaint dated June 17, 1991, with a return date of September 24, 1991. The third party defendant was served on August 30, 1991, more than two years after the original action.
Accordingly, the Motion to Strike is granted.
HURLEY, J.